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 6

 7                            IN THE UNITED STATES DISTRICT COURT

 8                         FOR THE CENTRAL DISTRICT OF CALIFORNIA

 9
      SECURE CHANNELS, INC., a California       )       CASE NO: 8:17-CV-1148
10    Corporation; SECURE CHANNELS INC., a      )       JOINT RULE 26(f) CONFERENCE
                                                )
      Delaware Corporation; Richard Blech, an   )
11    Individual,                               )       [FRCP RULE 26(b); CD-LR 26-1]
             Plaintiffs,                        )       Honorable Judge James V. Selna
12                                              )
                    vs.                         )
13                                              )
                                                )
      ADRIAN PLESHA, an Individual;             )
14    ANTONELLI WOZNY PLESHA & CAMPA )
      LLC, a Florida, Limited Liability Company )
15                                              )
      and DOES 1 through 100, inclusive,        )
                                                )
16           Defendants.                        )
                                                )
17                                              )

18
             Pursuant to the Court’s Scheduling Order of March 2, 2018 and Rule 26(f) of the Federal
19
      Rules of Civil Procedure, James Benedetto for the Plaintiffs and Zachary S. Schumacher for
20
      Defendant Antonelli, Wozny, Plesha, & Campa, LLC (“AWPC”) conducted a Rule 26(f)
21
      conference by telephone on April 11, 2018.
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24
                                       JOINT RULE 26(f) CONFERENCE 1
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 1           Pursuant to federal Rule of Civil procedure 26(f), Central District Local Rule 26-1, and

 2    this Court’s Standing Order, the parties to this action, Plaintiffs Secure Channels, Inc., a

 3    California Corporation; Secure Channels, Inc., a Delaware Corporation; Richard Blech, an

 4    Individual, and Defendant AWPC, a Florida limited liability company, hereby submit this Joint

 5    Rule 26(b) Report of Meeting.

 6              JOINT STATEMENT OF THE PARTIES PURSUANT TO RULE 26(f)

 7    I.     PROPOSED RULE 26(f) DISCOVERY PLAN

 8           In accordance with the requirements of Federal Rules of Civil procedure 26(f)(1)-(4) and

 9    the Local Rules, the parties propose the following discovery plan, which may be supplemented if

10    necessary following initial disclosures:

11           1. Timing of Discovery (FRCP 26(f)(3)(A)). A proposed discovery schedule is

12               outlined in section two of this report.

13           2. Scope and Subjects of Discovery (FRCP 26(f)(3)(B)).

14                   a. Plaintiffs Subjects on Which Discovery May Be Needed. Without prejudice

15                       to their rights to seek discovery on any relevant issues, Plaintiffs contemplate

16                       that they will need and seek discovery concerning: all evidentiary support

17                       from Defendants and any relevant non-party regarding Plaintiffs claims.

18                   b. Defendants Subjects on Which Discovery May Be Needed. The parties

19                       anticipate that their discovery will focus on any alleged agreements and/or

20                       contract(s). The parties further anticipate discovery surrounding each of the

21                       allegations Mr. Blech/Secure Channels has forwarded in the Complaint, as

22                       well as the Counterclaims which the Defendants, Plaintiffs-in-Counterclaim

23                       have made against Mr. Blech/Secure Channels.

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                                        JOINT RULE 26(f) CONFERENCE 2
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 1                 c. Agreed Upon Methods of Discovery. Anticipated methods of future

 2                     discovery may include: (1) written discovery in the form of Interrogatories,

 3                     Requests for Admissions, and Requests for Production of Documents;

 4                     (2) discovery via issuance of subpoenas to third parties; and (3) oral

 5                     depositions of Plaintiff, Defendants’ employees and “person(s) most

 6                     knowledgeable” under Rule 30(b)(6), and other relevant witnesses.

 7                 d. Procedures for Resolving Disputes Regarding Claims of Privilege. The

 8                     parties agree to use the procedures set forth in Fed. R. Civ. Proc. Rule

 9                     26(b)(5) regarding any claims of privilege or protecting materials asserted as

10                     being for trial-preparation. The parties request that this proposed procedure be

11                     adopted within the court’s further orders.

12          3. Additional Parties (L.R. 26-1(e)). The Defendants do not anticipate at this time that

13             discovery will lead to the naming of additional parties. Plaintiffs anticipate the

14             possibility of additional parties being added to the case. Namely, Plaintiffs request

15             that if any other members or persons employed by Defendant AWPC, those persons

16             or entities may be added.

17          4. Electronically Stored Information (FRCP 26(f)(3)(C). With regard to

18             electronically stored information, the parties request that all such information be

19             produced in accordance with the Federal Rules of Civil Procedure. Disclosure or

20             discovery of electronically stored information should be handled as follows:

21                 a. All electronic files are to be produced in their native format as kept in the

22                     ordinary course of business, along with any program used to open those files.

23                     Metadata shall not be removed from any file prior to production.

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                                     JOINT RULE 26(f) CONFERENCE 3
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 1                 b. If any electronic file cannot reasonably be produced in its native format, all

 2                     documents within that file are to be produced electronically in optical

 3                     character recognized (also known as “OCR”-ed) portable document format

 4                     (PDF), accompanied by a declaration from counsel explaining the reason the

 5                     electronic file could not be produced in its native format.

 6          5. Privilege Claims/Protection Claims (FRCP 26(f)(3)(D). The parties request any

 7             such claims be made and heard in accordance with the Federal Rules of Civil

 8             Procedure.

 9          6. Discovery Limitations (FRCP 26(f)(3)(E). The parties expect discovery will

10             proceed in accordance with the Federal Rules of Civil Procedure and any applicable

11             local rules.

12          7. Complex Cases (L.R. 26-1 (a)). The parties do not believe the case requires

13             designation as complex litigation or use of the Manual for Complex Litigation.

14    II.   PROPOSED SCHEDULE FOR DISCOVERY, DISPOSITIVE MOTIONS

15          1. Initial Disclosures. The parties do not anticipate the need for any changes to the

16             from or requirements for initial disclosures under Fed. R. Civ. P. 26(a)(1), except the

17             parties request that the deadline should be extended to, and such disclosures will be

18             made on or before, May 31, 2018.

19          2. Amendments to Pleadings. Except for good cause shown, no motions seeking leave

20             to add new parties or to amend the pleadings to assert new claims or defenses may be

21             filed after October 20, 2018.

22          3. Fact Discovery - Interim Deadlines.

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                                     JOINT RULE 26(f) CONFERENCE 4
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 1                  a. Written discovery (requests for production of documents, interrogatories, and

 2                     requests for admissions) shall be served no later than August 3, 2018.

 3                  b. All depositions, other than expert depositions, must be completed by

 4                     October 15, 2018.

 5           4. Fact Discovery – Final Deadline.

 6                  a. All discovery, other than expert discovery, must be completed by

 7                     January 22, 2019.

 8           5. Status Conferences. A status conference will be held on October 12, 2018.

 9           6. Expert Discovery (FRCP 26(a) (2), L.R. 26-1 (f)).

10                  a. Plaintiffs trial experts must be designated, and the information contemplated

11                     by Fed. R. Civ. P. 26(a)(2) must be disclosed by December 10, 2018.

12                  b. Plaintiffs’ trial experts must be deposed by January 25, 2019.

13                  c. Defendants trial experts must be designated, and the information contemplated

14                     by Fed. R. Civ. P. 26(a)(2) must be disclosed by December 10, 2018.

15                  d. Defendants’ trial experts must be deposed by January 25, 2019.

16           7. Dispositive Motions (L.R. 26-1 (b)).

17                  a. Dispositive motions, such as motions for summary judgment or partial

18                     summary judgment and motions for judgment on the pleadings, must be filed

19                     by May 4, 2019. The Defendants anticipate the filing of a Motion for

20                     Summary Judgment.

21                  b. Oppositions to dispositive motions must be filed within 21 days after service

22                     of the motion.

23    III.   PROPOSED SCHEDULE FOR DISCOVERY, DISPOSITIVE MOTIONS

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                                        JOINT RULE 26(f) CONFERENCE 5
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 1          1. Initial Pretrial Conference. An initial pre-trial conference will be held on

 2             May 25, 2019.

 3          2. Final Pretrial Conference. A final pre-trial conference will be held on

 4             June 13, 2019.

 5          3. Mediation Preferences/ADR (L.R. 26-1(c), L.R. 16-15.4). The parties are open to

 6             considering future mediation with a Court Mediation Panel, with a preference for

 7             ADR Procedure No. 1 in Local Rule 16-15.4, appearance for ADR before a district or

 8             magistrate judge. At this time, however, the parties do not believe that mediation will

 9             be helpful in the resolution of this matter. The parties propose May 8, 2019 as a

10             potential mediation or ADR date.

11          4. Proposed Trial Schedule and Preferences. The proposed trial start date is June 17,

12             2019, and the proposed length of the trial is no more than 1 week. Plaintiffs request a

13             jury trial.

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                                     JOINT RULE 26(f) CONFERENCE 6
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 1    IV.    PROPOSED EXPERT DISCOVERY SCHEDULE

 2           Deadlines for disclosures of the identities of expert witnesses that each party nay use at

 3    trial to present evidence and any written report from an expert witness required under Fed. R.

 4    Civ. Proc. 26(a)(2)(B) will be filed by February 26, 2019. Rebuttal expert witness reports will be

 5    filed by March 26, 2019.

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 7    Dated: April 12, 2018                        BENEDETTO LAW GROUP

 8                                         By      /s/James Benedetto_____________________

 9                                                         JAMES BENEDETTO
                                                           Attorney for Plaintiffs
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11
      Dated: April 12, 2018                        LAW OFFICE OF ZACHARY S. SCHUMACHER
12

13                                         By:     /s/Zachary S. Schumacher______________

14                                                 Zachary S. Schumacher, Attorney for Defendant,
                                                   Antonelli, Wozny, Plesha, & Campa, LLC
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                                       JOINT RULE 26(f) CONFERENCE 7
